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                  Mary Jo O'Neal - UMPIRE
                  2226 General Raines Drive
                  Murfreesboro, TN 37129
                  1-615-849-6400

            Insured:    Louise Graves
           Property:    3523 Eastend Drive
                        Humboldt, TN 38343


         Estimator:     Mary Jo O'Neal


    Claim Number: 300-0219080-2020            Policy Number:                          Type of Loss: Hail

      Date of Loss:     5/4/2020                          Date Received:   9/25/2020
     Date Inspected:    10/2/2020                          Date Entered:   11/20/2020 11:37 AM

          Price List:   TNJA8X_JUL20
                        Restoration/Service/Remodel
          Estimate:     20092003-GRAVES
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                                      Mary Jo O'Neal - UMPIRE
                                      2226 General Raines Drive
                                      Murfreesboro, TN 37129
                                      1-615-849-6400

                                                                                      20092003-GRAVES

                                                                Building 1 Roof
                                     11' 5"
                 8" 11"




                                                       42' 4"
                                                           6"

                                              96' 6"
                          115'                                             15446.14 Surface Area                          154.46 Number of Squares
                 30'
              6"31'




                                F1 (A)
         6'6'84'




                                                                             641.01 Total Perimeter Length                222.50 Total Ridge Length
             9"
             8"
            6"




                                                       42' 4"
                                                           6"




                           Building 1 Roof
          13'




         11'(1)
        30'




     Roof1
      F3 (A)
                                     11' 8"
                                         9"




      F4 (B)                     F2 (B)




      DESCRIPTION                                                      QUANTITY UNIT PRICE            TAX         O&P          RCV       DEPREC.            ACV
      1. R&R Metal roofing - ribbed - 24 gauge - 15,446. SF                 6.80 3,132.48  21,633.26 129,799.49                          (23,410.83)   106,388.66
      1 1/8" to 1 1/2"                                     14
      2. R&R Vinyl-faced/laminated insulation -       16,218. SF            1.23 1,280.85   4,245.92     25,475.46                            (0.00)    25,475.46
      4"                                                   45
      Per 2018 IECC Commercial Scope and Envelope Requirements (Metal Building - Climate Zone 4 - R-19+R-11 LS)
      3. R&R Vinyl-faced/laminated insulation -       16,218. SF            1.69 1,818.49   5,845.54     35,073.21                            (0.00)    35,073.21
      6"                                                   45
      5% waste included due to purlin spacing and roll installation.
      4. R&R Ridge cap - metal roofing                 222.50 LF            5.68    48.38     262.44      1,574.62                         (250.23)      1,324.39
      5. R&R Ridge end cap for metal roofing             2.00 EA           27.92     2.51       11.66        70.01                          (11.48)         58.53
      6. R&R Eave trim for metal roofing - 26          445.00 LF            5.11    93.72     473.54      2,841.21                         (491.35)      2,349.86
      gauge
      7. R&R Steel rake/gable trim - color finish      196.01 LF            5.07    47.01     208.16      1,248.94                         (350.45)        898.49
      8. R&R Closure strips for metal panels         1,780.00 LF            1.77    88.51     647.82      3,886.93                           (0.00)      3,886.93
      9. R&R Custom High Efficiency                      4.00 EA        1,460.00   233.45   1,214.70      7,288.15                           (0.00)      7,288.15
      Ventilators
      10. R&R Gutter / downspout - box -               445.00 LF           17.86   651.68   1,719.88     10,319.26                        (4,055.08)     6,264.18
      aluminum - 7" to 8"
      11. R&R Gutter / downspout - aluminum -          222.51 LF           14.23   252.09     683.70      4,102.10                        (1,604.52)     2,497.58
      7" to 8"
      12. Soffit & Fascia Installer - per hour          20.00 HR           56.18     0.00     224.72      1,348.32                            (0.00)     1,348.32
      Additional labor for installing gutters on above average height building.
      13. R&R Sidewall flashing for metal               18.00 LF            4.73     3.72       17.76       106.62                           (19.66)        86.96
      roofing - 26 gauge
      14. R&R Neoprene pipe jack flashing for            3.00 EA           50.01     6.40       31.28       187.71                           (32.68)      155.03
      metal roofing
      15. R&R Flashing - pipe jack - 8"                  1.00 EA           62.16     3.46       13.14        78.76                          (31.75)        47.01
      16. R&R Furnace vent - rain cap and storm          6.00 EA           77.05    15.34       95.52       573.16                         (294.65)       278.51
      collar, 6"
      17. Special Systems - Electrician - per            5.00 HR           80.43     0.00       80.44       482.59                            (0.00)      482.59
      hour
      Detach and reset rooftop satellite.

      Totals: Building 1 Roof                                                                      7,678.09   37,409.48   224,456.54      30,552.68    193,903.86




                                                                Building 1 Exterior

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                                         Mary Jo O'Neal - UMPIRE
                                         2226 General Raines Drive
                                         Murfreesboro, TN 37129
                                         1-615-849-6400

     DESCRIPTION                                                             QUANTITY UNIT PRICE               TAX         O&P          RCV       DEPREC.           ACV
     18. R&R Wall panel - ribbed - 24 gauge -      4,215.00 SF            4.34        772.61        3,813.14     22,878.85     (4,167.95)     18,710.90
     up to 1"*
     Replace exterior elevation metal due to hail damage and to provide a reasonable uniform appearance within the line of sight as required in
     Tennessee.
     19. R&R Vinyl-faced/laminated insulation - 4,215.00 SF               0.92        205.48          816.66       4,899.94         (0.00)      4,899.94
     3"
     20. R&R Overhead door & hardware - 10'             8.00 EA      1,461.79         752.70        2,489.40     14,936.42     (4,850.36)     10,086.06
     x 10'
     Replace 8 overhead doors on right elevation due to hail damage.
     21. Comb/straighten a/c cond. fins - w/trip        1.00 EA         177.21           0.00          35.44         212.65         (0.00)        212.65
     charge - Large
     22. Electrician - per hour                       60.00 HR           80.43           0.00         965.16       5,790.96         (0.00)      5,790.96
     Detach and reset signs, electrical and low voltage components for proper installation of wall panels and gutters.

     Totals: Building    1 Exterior
              Small Office                                                 Office 1
                                                                                                            1,730.79     8,119.80   48,718.82       9,018.31    39,700.51



                                                                                                Bldg 1 Interior
                          Hallway
                                                                 Mens Restroom                                                                                 Height: 8'
                   1'    2' 8"           4' 8"
                   10"                   4' 6"                                        224.69 SF Walls                                48.42 SF Ceiling
                                                                                      273.11 SF Walls & Ceiling                      48.42 SF Floor
                                                 6' 1"
           6' 5"




                         Mens Restroom                   Womens Restroom
                                                                                         5.38 SY Flooring                            28.09 LF Floor Perimeter
                                                                                        Office 2
                                  8'                                                   28.09 LF Ceil. Perimeter
                                 8' 6"




     DESCRIPTION                                                             QUANTITY UNIT PRICE               TAX         O&P          RCV       DEPREC.           ACV
     23. Clean suspended ceiling grid                   48.42 SF                                   0.22           0.05       2.16
                                                                                                                         Showroom      12.86          (0.00)       12.86
     24. Paint suspended ceiling grid                   48.42 Office
                                                               SF 3                                0.36           0.66      3.62       21.71          (6.03)       15.68
     25. R&R Suspended ceiling tile - 2' x 4'           12.11 SF                                   2.04           1.40      5.22       31.33          (0.00)       31.33
     26. Seal & paint acoustic ceiling tile             48.42 SF                                   1.11           1.37     11.04       66.16         (18.38)       47.78
     Paint ceiling tiles to obtain a uniform appearance throughout.
     27. Sprinkler head/escutcheon - Detach &            2.00 EA                                  11.99           0.00      4.80       28.78          (0.00)       28.78
     reset
     28. Fluorescent light fixture - 2' & 4' -           2.00 Office
                                                               EA 4                               57.48           0.00     23.00      137.96          (0.00)      137.96
     Detach & reset
     29. Heat/AC register - Mechanically                 1.00 EA                                   5.32           0.00      1.06         6.38         (0.00)         6.38
     attached - Detach & reset
     30. Detach & Reset In-wall / In-ceiling             1.00 EA                                  14.30           0.00      2.86       17.16          (0.00)       17.16
     speaker
     31. Cold air return cover - Detach & reset          1.00 EA                                   7.26           0.00      1.46        8.72          (0.00)        8.72
     32. Floor protection - plastic and tape - 10       48.42 SF                                   0.29           0.52      2.90       17.46          (0.00)       17.46
                                     Executive Bathroom    Executive Office
     mil

     Totals: Mens Restroom                                                                                        4.00     58.12      348.52           24.41      324.11




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                                                Mary Jo O'Neal - UMPIRE
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                                                Murfreesboro, TN 37129
                                                1-615-849-6400


                                                                                      Conference Room                                                                                 Height: 8'
                                     23' 11"
                                      23' 7"                                9' 3"
                                                                                                              525.33 SF Walls                              218.15 SF Ceiling
                 9' 7"




                                Conference Room                       Small Office               Office 1     743.48 SF Walls & Ceiling                    218.15 SF Floor
      Service Entry             16' 2"                 2' 6" 4' 11"                                            24.24 SY Flooring                            65.67 LF Floor Perimeter
                                16' 6"                       5' 1"
                                                                            Hallway                            65.67 LF Ceil. Perimeter

                                                                     Mens Restroom
                                                                                 Womens Restroom
                                                                                                            Office 2
               DESCRIPTION                                                                       QUANTITY UNIT PRICE                     TAX       O&P         RCV       DEPREC.          ACV
               33. Clean suspended ceiling grid                         218.15 SF                                          0.22           0.21      9.64      57.84          (0.00)       57.84
                                                                                                                             Showroom
               34. Paint suspended ceiling grid                         218.15
                                                                            OfficeSF
                                                                                   3                                       0.36           2.98     16.30      97.81         (27.17)       70.64
               35. R&R Suspended ceiling tile - 2' x 4'                   54.54 SF                                         2.04           6.33     23.50     141.10          (0.00)      141.10
               36. Seal & paint acoustic ceiling tile                   218.15 SF                                          1.11           6.17     49.68     298.00         (82.78)      215.22
               Paint ceiling  tiles to obtain a uniform appearance throughout.
                           Service/Parts
                                                                            Office 4

               37. Sprinkler head/escutcheon - Detach &                    5.00 EA                                        11.99           0.00     12.00      71.95          (0.00)       71.95
               reset
               38. Fluorescent light fixture - 2' & 4' -                   4.00 EA                                        57.48           0.00     45.98     275.90          (0.00)      275.90
               Detach & reset                          Executive BathroomExecutive Office

               39. Heat/AC register - Mechanically                         4.00 EA                                         5.32           0.00      4.26      25.54          (0.00)       25.54
               attached - Detach & reset
               40. Detach & Reset In-wall / In-ceiling                     2.00 EA                                        14.30           0.00      5.72      34.32          (0.00)       34.32
               speaker
               41. Cold air return cover - Detach & reset                  3.00 EA                                         7.26           0.00      4.36      26.14          (0.00)       26.14
               42. Floor protection - plastic and tape - 10             218.15 SF                                          0.29           2.34     13.12      78.72          (0.00)       78.72
               mil
Small Office                                               Office 1

               Totals: Conference Room                                                                                                   18.03    184.56    1,107.32        109.95       997.37



    Hallway
                                                                                      Womens Restroom                                                                                 Height: 8'
                         8" 2' 4"              7' 2"
                         6"                     7'                                                            255.31 SF Walls                               60.07 SF Ceiling
                                                                                                              315.38 SF Walls & Ceiling                     60.07 SF Floor
                                                            6' 1"
                                                                    6' 3"




Mens Restroom                  Womens Restroom
                                                                                                                6.67 SY Flooring                            31.91 LF Floor Perimeter
                                                                                      Office 2
                                     9' 10"
                                                                                                               31.91 LF Ceil. Perimeter
                                         10'




               DESCRIPTION                                                                       QUANTITY UNIT PRICE                     TAX       O&P         RCV       DEPREC.          ACV
               43. Clean suspended ceiling grid                  60.07 SF                                                  0.22    Showroom0.06     2.66      15.94          (0.00)       15.94
               44. Paint suspended ceiling grid Office 3         60.07 SF                                                  0.36           0.82      4.48      26.93          (7.48)       19.45
               45. R&R Suspended ceiling tile - 2' x 4'          15.02 SF                                                  2.04           1.74      6.46      38.84          (0.00)       38.84
               46. Seal & paint acoustic ceiling tile            60.07 SF                                                  1.11           1.70     13.68      82.06         (22.80)       59.26
               Paint ceiling tiles to obtain a uniform appearance throughout.
               47. Sprinkler head/escutcheon - Detach &            2.00 EA                                                11.99           0.00      4.80      28.78          (0.00)       28.78
               reset
               48. Fluorescent light fixture - 2' & 4'Office
                                                        - 4        2.00 EA                                                57.48           0.00     23.00     137.96          (0.00)      137.96
               Detach & reset
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                                          Mary Jo O'Neal - UMPIRE
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                                          Murfreesboro, TN 37129
                                          1-615-849-6400



                                                                                       CONTINUED - Womens Restroom
                Office 1




            DESCRIPTION                                                 QUANTITY UNIT PRICE               TAX        O&P        RCV       DEPREC.          ACV
            49. Heat/AC register - Mechanically                                 1.00 EA          5.32         0.00    1.06       6.38         (0.00)        6.38
            attached - Detach & reset
            50. Detach & Reset In-wall / In-ceiling                             1.00 EA         14.30         0.00    2.86      17.16         (0.00)       17.16
            speaker
Womens Restroom
            51. Cold air return cover - Detach & reset                         1.00 EA           7.26         0.00    1.46       8.72         (0.00)        8.72
                        Office 2
            52. Floor protection - plastic and tape - 10                      60.07 SF           0.29         0.64    3.60      21.66         (0.00)       21.66
            mil

            Totals: Womens Restroom                                                                           4.96   64.06     384.43          30.28      354.15
                                                                            Showroom
                               Office 3




                                                                 Office 4                                                                              Height: 8'
                                                                                  345.33 SF Walls                            115.96 SF Ceiling
                                                      7' 5"
                                              7' 3"
                 10' 3"




                                                                                  461.29 SF Walls & Ceiling                  115.96 SF Floor
                 10' 1"




                               Office 4

                                                                                   12.88 SY Flooring                          43.17 LF Floor Perimeter
                                                      6" 2' 6"




                                11' 6"                                             43.17 LF Ceil. Perimeter
                                              4"




            DESCRIPTION                                                 QUANTITY UNIT PRICE               TAX        O&P        RCV       DEPREC.          ACV
Executive Bathroom         Executive Office
            53. Clean suspended ceiling grid                 115.96 SF                           0.22         0.11    5.12      30.74         (0.00)       30.74
            54. Paint suspended ceiling grid                 115.96 SF                           0.36         1.58    8.68      52.01        (14.45)       37.56
            55. R&R Suspended ceiling tile - 2' x 4'          28.99 SF                           2.04         3.36   12.50      75.00         (0.00)       75.00
            56. Seal & paint acoustic ceiling tile           115.96 SF                           1.11         3.28   26.40     158.40        (44.00)      114.40
            Paint ceiling tiles to obtain a uniform appearance throughout.
            57. Sprinkler head/escutcheon - Detach &            2.00 EA                         11.99         0.00    4.80      28.78         (0.00)       28.78
            reset
            58. Fluorescent light fixture - 2' & 4' -           2.00 EA                         57.48         0.00   23.00     137.96         (0.00)      137.96
            Detach & reset
            59. Heat/AC register - Mechanically                 1.00 EA                          5.32         0.00    1.06       6.38         (0.00)        6.38
            attached - Detach & reset
            60. Detach & Reset In-wall / In-ceiling             1.00 EA                         14.30         0.00    2.86      17.16         (0.00)       17.16
            speaker
            61. Cold air return cover - Detach & reset          1.00 EA                          7.26         0.00    1.46       8.72         (0.00)        8.72
            62. Floor protection - plastic and tape - 10     115.96 SF                           0.29         1.24    6.96      41.83         (0.00)       41.83
            mil

            Totals: Office 4                                                                                  9.57   92.84     556.98          58.45      498.53




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6                                                                             Office 2




                                                                                                            Showroom
                                                       Mary Jo
                                                            OfficeO'Neal
                                                                  3      - UMPIRE
                                                       2226 General Raines Drive
                                                       Murfreesboro, TN 37129
                                                       1-615-849-6400
                                                                              Office 4


                                             9' 5"
                                                                                         Executive Bathroom                                                                 Height: 8'
                                                            2' 7"



                                                                                                       356.00 SF Walls                            119.60 SF Ceiling
                       13' 6"




                                                                                                       475.60 SF Walls & Ceiling                  119.60 SF Floor
                                    13' 2"




                                 Executive Bathroom                  Executive Office
                                                            9' 11"




                                                                                                        13.29 SY Flooring                          44.50 LF Floor Perimeter
                                             9' 1"
                                                                                                        44.50 LF Ceil. Perimeter
                                             9' 5"



             DESCRIPTION                                                                        QUANTITY UNIT PRICE            TAX        O&P        RCV       DEPREC.          ACV
            63. Clean suspended ceiling grid                         119.60 SF                                          0.22       0.12    5.28      31.71         (0.00)       31.71
            64. Paint suspended ceiling grid                         119.60 SF                                          0.36       1.63    8.94      53.63        (14.89)       38.74
            65. R&R Suspended ceiling tile - 2' x 4'                  29.90 SF                                          2.04       3.47   12.90      77.36         (0.00)       77.36
e                   Office 1
            66. Seal & paint acoustic ceiling tile                   119.60 SF                                          1.11       3.38   27.24     163.38        (45.38)      118.00
            Paint ceiling tiles to obtain a uniform appearance throughout.
            67. Sprinkler head/escutcheon - Detach &                   2.00 EA                                         11.99       0.00    4.80      28.78         (0.00)       28.78
            reset
            68. Fluorescent light fixture - 2' & 4' -                  2.00 EA                                         57.48       0.00   23.00     137.96         (0.00)      137.96
            Detach & reset
oom   Womens Restroom
            69. Heat/AC register - Mechanically                        1.00 EA                                          5.32       0.00    1.06       6.38         (0.00)        6.38
                             Office 2
            attached - Detach       & reset
            70. Detach & Reset In-wall / In-ceiling                    1.00 EA                                         14.30       0.00    2.86      17.16         (0.00)       17.16
            speaker
            71. Cold air return cover - Detach & reset                 1.00 EA                                          7.26       0.00    1.46       8.72         (0.00)        8.72
                                                              Showroom
            72. Floor protection
                             Office 3  - plastic and tape - 10       119.60 SF                                          0.29       1.28    7.20      43.16         (0.00)       43.16
            mil

             Totals: Executive Bathroom                                                                                            9.88   94.74     568.24          60.27      507.97

                                             Office 4




                                                                                         Executive Office                                                                   Height: 8'
                                                                  1' 1"
                                2' 7"




                                                              2' 6"




                                                                                                       394.67 SF Walls                            151.42 SF Ceiling
      Executive Bathroom                 Executive Office                                              546.08 SF Walls & Ceiling                  151.42 SF Floor
                                9' 11"




                                                                      9' 7"




                                                                                                        16.82 SY Flooring                          49.33 LF Floor Perimeter
                                              11' 6"
                                                                                                        49.33 LF Ceil. Perimeter
                                             11' 10"



             DESCRIPTION                                                                        QUANTITY UNIT PRICE            TAX        O&P        RCV       DEPREC.          ACV
             73. Clean suspended ceiling grid                 151.42 SF                                                 0.22       0.15    6.70      40.16         (0.00)       40.16
             74. Paint suspended ceiling grid                 151.42 SF                                                 0.36       2.07   11.32      67.90        (18.86)       49.04
             75. R&R Suspended ceiling tile - 2' x 4'          37.85 SF                                                 2.04       4.39   16.34      97.95         (0.00)       97.95
             76. Seal & paint acoustic ceiling tile           151.42 SF                                                 1.11       4.28   34.48     206.84        (57.46)      149.38
             Paint ceiling tiles to obtain a uniform appearance throughout.
             77. Sprinkler head/escutcheon - Detach &            5.00 EA                                               11.99       0.00   12.00      71.95         (0.00)       71.95
             reset
             78. Fluorescent light fixture - 2' & 4' -           4.00 EA                                               57.48       0.00   45.98     275.90         (0.00)      275.90
             Detach & reset
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                                      1-615-849-6400



                                                                              CONTINUED - Executive Office



         DESCRIPTION                                                QUANTITY UNIT PRICE             TAX         O&P         RCV       DEPREC.          ACV
         79. Heat/AC register - Mechanically                              2.00 EA        5.32           0.00     2.12      12.76          (0.00)       12.76
         attached - Detach & reset
         80. Detach & Reset In-wall / In-ceiling                          1.00 EA       14.30           0.00     2.86      17.16          (0.00)       17.16
         speaker
         81. Cold air return cover - Detach & reset                       2.00 EA        7.26           0.00     2.90      17.42          (0.00)       17.42
         82. Floor protection - plastic and tape - 10                   151.42 SF        0.29           1.62     9.10      54.63         (15.18)       39.45
         mil

         Totals: Executive Office                                                                   12.51      143.80     862.67           91.50      771.17




                                                             Office 1                                                                              Height: 8'
                            23' 11"
                             23' 7"                                         525.33 SF Walls                             218.15 SF Ceiling
               9' 3"




                                                     9' 5"




    Small Office           Office 1                                         743.48 SF Walls & Ceiling                   218.15 SF Floor
                       16' 5"          2' 6" 4' 8"                           24.24 SY Flooring                           65.67 LF Floor Perimeter
                       16' 7"
     Hallway                                                                 65.67 LF Ceil. Perimeter

    Mens Restroom
                Womens Restroom
                                      Office 2
         DESCRIPTION                                                QUANTITY UNIT PRICE             TAX         O&P         RCV       DEPREC.          ACV
         83. Clean suspended ceiling grid                        218.15 SF               0.22           0.21     9.64      57.84          (0.00)       57.84
         84. Paint suspendedOffice   ceiling
                                          3      grid   Showroom 218.15 SF               0.36           2.98    16.30      97.81         (27.17)       70.64
         85. R&R Suspended ceiling tile - 2' x 4'                 54.54 SF               2.04           6.33    23.50     141.10          (0.00)      141.10
         86. Seal & paint acoustic ceiling tile                  218.15 SF               1.11           6.17    49.68     298.00         (82.78)      215.22
         Paint ceiling tiles toOffice
                                    obtain4 a uniform appearance throughout.
         87. Sprinkler head/escutcheon - Detach &                  4.00 EA              11.99           0.00     9.60      57.56          (0.00)       57.56
         reset
         88. Fluorescent light fixture - 2' & 4' -                 4.00 EA              57.48           0.00    45.98     275.90          (0.00)      275.90
         Detach   & reset
              Executive BathroomExecutive Office
         89. Heat/AC register - Mechanically                       3.00 EA               5.32           0.00     3.20      19.16          (0.00)       19.16
         attached - Detach & reset
         90. Detach & Reset In-wall / In-ceiling                   1.00 EA              14.30           0.00     2.86      17.16          (0.00)       17.16
         speaker
         91. Cold air return cover - Detach & reset                2.00 EA               7.26           0.00     2.90      17.42          (0.00)       17.42
         92. Floor protection - plastic and tape - 10            218.15 SF               0.29           2.34    13.12      78.72          (0.00)       78.72
         mil

         Totals: Office 1                                                                           18.03      176.78    1,060.67        109.95       950.72




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                                                     Mary Jo O'Neal - UMPIRE
                                                     2226 General Raines Drive
                                                     Murfreesboro, TN 37129
                                                     1-615-849-6400
                          Conference Room
                                       Small Office Office 1
               Service Entry
                                     23' 6"   Hallway
                         3' 2"
                                                                                              Service/Parts                                                                                    Height: 12'
                                                     6' 5"


                                     23' 4" Mens Womens
                                                 RestroomRestroom
                                                  8' 9' 10"  Office 2

                                                                         10' 1" 9' 9" 3' 7"
                                                8' 6"   10'
                                                                                                                   2302.00 SF Walls                              2037.15 SF Ceiling
                                                                         10' 3" 10' 1"
                                                                                  Office 3        Showroom

                                                                                                                   4339.15 SF Walls & Ceiling                    2037.15 SF Floor
               43' 10"
                 44'




                                                                                  Office 4
                                 Service/Parts                                                                      226.35 SY Flooring                            191.83 LF Floor Perimeter
                                                                                                                    191.83 LF Ceil. Perimeter
                                                                13' 6"
                                                                13' 2"




                                                             Executive Executive
                                                                       Bathroom Office
                                     42' 8"
                                      43'


              DESCRIPTION                                                                                 QUANTITY UNIT PRICE                 TAX        O&P          RCV      DEPREC.              ACV
              93. Protect - Cover with plastic                                                             2,037.15 SF            0.29       21.85      122.54      735.16         (0.00)          735.16

              Totals: Service/Parts                                                                                                          21.85      122.54      735.16              0.00       735.16




                                              6'                                              Small Office                                                                                      Height: 8'
                                             5' 8"
                                                                                                                     238.67 SF Walls                               52.42 SF Ceiling
                                     9' 3"




erence Room                          Small Office                                              Office 1              291.08 SF Walls & Ceiling                     52.42 SF Floor
                                                                                                                       5.82 SY Flooring                            29.83 LF Floor Perimeter
                                    1' 4" 2' 6" 1' 10"
                                    1' 6"          2'
                                                                                                                      29.83 LF Ceil. Perimeter
                                         Hallway



              DESCRIPTION                                                                                 QUANTITY UNIT PRICE                 TAX        O&P          RCV      DEPREC.              ACV
                           Mens Restroom    Womens Restroom
              94. Clean suspended      ceiling grid              52.42 SF                                                         0.22           0.05     2.32       13.90         (0.00)           13.90
                                                               Office 2
              95. Paint suspended ceiling grid                   52.42 SF                                                         0.36           0.72     3.92       23.51         (6.53)           16.98
              96. R&R Suspended ceiling tile - 2' x 4'           13.10 SF                                                         2.04           1.52     5.64       33.89         (0.00)           33.89
              97. Seal & paint acoustic ceiling tile             52.42 SF                                                         1.11           1.48    11.94       71.61        (19.89)           51.72
              Paint ceiling tiles to obtain a uniform appearance throughout.
                                                                                                                                          Showroom
              98. Sprinkler head/escutcheon - Detach &             2.00
                                                               Office 3 EA                                                       11.99           0.00     4.80       28.78         (0.00)           28.78
              reset
              99. Fluorescent light fixture - 2' & 4' -            1.00 EA                                                       57.48           0.00    11.50       68.98         (0.00)           68.98
              Detach & reset
              100. Heat/AC register - Mechanically                 1.00 EA                                                        5.32           0.00     1.06        6.38         (0.00)            6.38
              attached - Detach & reset
                                                               Office 4
e/Parts       101. Detach & Reset In-wall / In-ceiling             1.00 EA                                                       14.30           0.00     2.86       17.16         (0.00)           17.16
              speaker
              102. Cold air return cover - Detach & reset          1.00 EA                                                        7.26           0.00     1.46        8.72         (0.00)            8.72
              103. Floor protection - plastic and tape -         52.42 SF                                                         0.29           0.56     3.16       18.92         (0.00)           18.92
              10 mil

              Totals: Small Office                                   Executive Bathroom                   Executive Office                       4.33    48.66      291.85          26.42          265.43




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                                                Mary Jo O'Neal - UMPIRE
                                                2226 General Raines Drive
                                                Murfreesboro, TN 37129
                                                1-615-849-6400


                                                                               Hallway                                                                                  Height: 8'

                  Conference Room
                                Small Office Office 1                                           907.33 SF Walls                              317.53 SF Ceiling
        Service Entry 16' 2"   4' 11"       16' 5" 2' 6"
                                                                                               1224.86 SF Walls & Ceiling                    317.53 SF Floor
                                                                    6' 3"


                        23' 6"  5' 1"
                                   Hallway
                                      4' 8" 7' 2" 11' 8"
                        23' 4" MensWomens     7' 11' 6"
                                      4' 6" Restroom
                                      Restroom    Office 2                                       35.28 SY Flooring                           113.42 LF Floor Perimeter
                                                                            Showroom
                                                                                                113.42 LF Ceil. Perimeter
                                                    Office 3


                     Service/Parts                  Office 4
             Missing Wall                                                                            5' 11" X 8'                   Opens into SERVICE_ENTR
                                       ExecutiveExecutive
                                                 BathroomOffice

             DESCRIPTION                                                               QUANTITY UNIT PRICE                 TAX       O&P         RCV       DEPREC.          ACV
             104. Clean suspended ceiling grid                317.53 SF                                             0.22    0.31     14.04      84.21          (0.00)       84.21
             105. Paint suspended ceiling grid                317.53 SF                                             0.36    4.33     23.72     142.36         (39.54)      102.82
             106. R&R Suspended ceiling tile - 2' x 4'         79.38 SF                                             2.04    9.21     34.22     205.36          (0.00)      205.36
             107. Seal & paint acoustic ceiling tile          317.53 SF                                             1.11    8.98     72.30     433.74        (120.48)      313.26
             Paint ceiling tiles to obtain a uniform appearance throughout.
             108. Sprinkler head/escutcheon - Detach &           4.00 EA                                           11.99    0.00      9.60      57.56          (0.00)       57.56
             reset
             109. Fluorescent light fixture - 2' & 4' -          3.00 EA                                           57.48    0.00     34.48     206.92          (0.00)      206.92
             Detach & reset
             110. Heat/AC register - Mechanically                3.00 EA                                            5.32    0.00      3.20      19.16          (0.00)       19.16
             attached - Detach & reset
             111. Cold air return cover - Detach & reset         2.00 EA                                            7.26    0.00      2.90      17.42          (0.00)       17.42
             112. Floor protection - plastic and tape -       317.53 SF                                             0.29    3.41     19.10     114.59          (0.00)      114.59
             10 mil
                Office 1
             Totals: Hallway                                                                                               26.24    213.56    1,281.32        160.02     1,121.30




                                      11' 8"                                   Office 2                                                                                 Height: 8'
                                                                                                341.33 SF Walls                              113.08 SF Ceiling
                  6' 1"
                          6' 3"




                                                    7' 2"




Womens Restroom
                                                     7'




                                     Office 2                                                   454.42 SF Walls & Ceiling                    113.08 SF Floor
                                                                                                 12.56 SY Flooring                            42.67 LF Floor Perimeter
                   3' 7"
                   3' 7"




                                                         6" 2' 6"




                                      11' 6"                                                     42.67 LF Ceil. Perimeter
                                                    4"




                                                                                          Showroom
             DESCRIPTION
                     Office 3                                                          QUANTITY UNIT PRICE                 TAX       O&P         RCV       DEPREC.          ACV
             113. Clean suspended ceiling grid                113.08 SF                                             0.22    0.11      5.00      29.99          (0.00)       29.99
             114. Paint suspended ceiling grid                113.08 SF                                             0.36    1.54      8.44      50.69         (14.08)       36.61
             115. R&R Suspended ceiling tile - 2' x 4'         28.27 SF                                             2.04    3.28     12.20      73.15          (0.00)       73.15
             116. Seal & paint acoustic ceiling tile          113.08 SF                                             1.11    3.20     25.74     154.46         (42.91)      111.55
                          Office 4
             Paint ceiling tiles to obtain a uniform appearance throughout.
             117. Sprinkler head/escutcheon - Detach &           2.00 EA                                           11.99    0.00      4.80      28.78          (0.00)       28.78
             reset
             118. Fluorescent light fixture - 2' & 4' -          2.00 EA                                           57.48    0.00     23.00     137.96          (0.00)      137.96
             Detach & reset

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Executive BathroomExecutive Office                                                                                                                       3/8/2021            Page: 9
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                                                                                      2226 General Raines Drive
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                                                                                                                            CONTINUED - Office 2



                DESCRIPTION                                                                                QUANTITY UNIT PRICE              TAX         O&P          RCV       DEPREC.            ACV
                119. Heat/AC register - Mechanically                                                              1.00 EA         5.32          0.00     1.06         6.38         (0.00)          6.38
                attached - Detach & reset
                120. Detach & Reset In-wall / In-ceiling                                                          1.00 EA        14.30          0.00     2.86       17.16          (0.00)        17.16
                speaker
                121. Cold air return cover - Detach & reset                                                     1.00 EA           7.26          0.00     1.46        8.72          (0.00)         8.72
                122. Floor protection - plastic and tape -                                                    113.08 SF           0.29          1.21     6.80       40.80          (0.00)        40.80
                10 mil

                Totals: Office 2                                                                                                                9.34    91.36      548.09           56.99       491.10
                                                                          3"
                                                                       9' 5"




                                                                                   29' 6"
                                                                                   28'
                                                                                                     Showroom                                                                               Height: 12'
                                                                    3" 9'




onference Small
          Room Office
                    Office 1
                                                                 6' 11"




ntry
                                                            7' 2"5'




           Hallway
                                                                                                                   2116.00 SF Walls                             1700.50 SF Ceiling
                                                           7'
                                                        2' 6"




         Mens
            Womens
              Restroom
                     Restroom
                       Office 2
                                                                                            60' 8"
                                                                                                4"
                                                       4"
                                                       6"
                                                       3"
                                                    7' 1"




                                                                                                                   3816.50 SF Walls & Ceiling                   1700.50 SF Floor
                                                                                            59'
                                                    7'
                                                2' 6"




                       Office 3                                                Showroom
                                               2"
                                               4"
                                               5"
                                            7' 3"




                                                                                                                    188.94 SY Flooring                           176.33 LF Floor Perimeter
                                            7'
                                         3"6"




                       Office 4
                                        2'1"




Service/Parts
                                       6"
                                       4"
                                     1'6"




                                                                                                                    176.33 LF Ceil. Perimeter
                               9' 7"2'1'




            Executive
                    Executive
                      BathroomOffice




                DESCRIPTION                                                                                QUANTITY UNIT PRICE              TAX         O&P          RCV       DEPREC.            ACV
                123. Clean suspended ceiling grid              1,700.50 SF                                                        0.22       1.66       75.16       450.93         (0.00)        450.93
                124. Paint suspended ceiling grid              1,700.50 SF                                                        0.36      23.21      127.08       762.47       (211.80)        550.67
                125. R&R Suspended ceiling tile - 2' x 4'        170.05 SF                                                        2.04      19.73       73.32       439.95         (0.00)        439.95
                126. Seal & paint acoustic ceiling tile        1,700.50 SF                                                        1.11      48.08      387.14     2,322.78       (645.22)      1,677.56
                Paint ceiling tiles to obtain a uniform appearance throughout.
                127. Fluorescent light fixture - 2' & 4' -        10.00 EA                                                       57.48          0.00   114.96      689.76          (0.00)       689.76
                Detach & reset
                128. Sprinkler head/escutcheon - Detach &         15.00 EA                                                       11.99          0.00    35.98      215.83          (0.00)       215.83
                reset
                129. Detach & Reset In-wall / In-ceiling            4.00 EA                                                      14.30          0.00    11.44       68.64          (0.00)        68.64
                speaker
                130. Ceiling fan - Detach & reset                   1.00 EA                                                     141.03          0.00    28.20      169.23          (0.00)       169.23
                131. Heat/AC register - Mechanically              20.00 EA                                                        5.32          0.00    21.28      127.68          (0.00)       127.68
                attached - Detach & reset
                132. Cold air return cover - Detach & reset         8.00 EA                                                       7.26       0.00       11.62       69.70          (0.00)        69.70
                133. Floor protection - plastic and tape -     1,700.50 SF                                                        0.29      18.24      102.28      613.67          (0.00)       613.67
                10 mil

                Totals: Showroom                                                                                                           110.92      988.46     5,930.64        857.02       5,073.62




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                                                                 Mary Jo O'Neal - UMPIRE
                                                                 2226 General Raines Drive
                                                                 Murfreesboro, TN 37129
                                                                 1-615-849-6400

                                                        10' 5"
                                                        10' 1"                                   Service Entry                                                                                           Height: 8'
                                                                           9' 3"
                                                                   9' 7"




                                                                                          Conference Room            363.33 SF Walls
                                                                                                               Small Office     Office 1                                       157.28 SF Ceiling
                                            15' 6"
                                   15' 8"




                                                Service Entry                                                        520.61 SF Walls & Ceiling                                 157.28 SF Floor
                                                                                                                      17.48 SY Flooring                                         45.42 LF Floor Perimeter
                                                                           5' 11"




                                                                                                                 Hallway
                                                     6' 3"      3' 2"                                                 45.42 LF Ceil. Perimeter
                                                                                                               Mens RestroomWomens Restroom
                                                                                                                                                Office 2
           Missing Wall                                                                                                 5' 11" X 8'                                Opens into HALLWAY

           DESCRIPTION                                                                                      QUANTITY UNIT PRICE                            TAX       O&P          RCV       DEPREC.          ACV
                                                                                                                                                                    Showroom
                                                                                                                                                Office 3
           134. Clean suspended ceiling grid                157.28 SF                 0.22                                                                  0.15      6.96        41.71         (0.00)       41.71
           135. Paint suspended ceiling grid                157.28 SF                 0.36                                                                  2.15     11.76        70.53        (19.59)       50.94
           136. R&R Suspended ceiling tile - 2' x 4'         39.32 SF                 2.04                                                                  4.56     16.96       101.73         (0.00)      101.73
           137. Seal & paint acoustic ceiling      tile
                                            Service/Parts   157.28 SF                 1.11 Office 4                                                         4.45     35.82       214.85        (59.67)      155.18
           Paint ceiling tiles to obtain a uniform appearance throughout.
           138. Sprinkler head/escutcheon - Detach &           2.00 EA               11.99                                                                  0.00      4.80        28.78         (0.00)       28.78
           reset
           139. Fluorescent light fixture - 2' & 4' -          2.00 EAExecutive BathroomExecutive
                                                                                     57.48        Office                                                    0.00     23.00       137.96         (0.00)      137.96
           Detach & reset
           140. Heat/AC register - Mechanically                2.00 EA                5.32                                                                  0.00      2.12        12.76         (0.00)       12.76
           attached
              Office 1
                       - Detach & reset
           141. Detach & Reset In-wall / In-ceiling            1.00 EA               14.30                                                                  0.00      2.86        17.16         (0.00)       17.16
           speaker
           142. Cold air return cover - Detach & reset         1.00 EA                7.26                                                                  0.00      1.46         8.72         (0.00)        8.72
           143. Floor protection - plastic and tape -       157.28 SF                 0.29                                                                  1.69      9.46        56.76         (0.00)       56.76
           10 mil

           Totals: Service Entry                                                                                                                           13.00    115.20       690.96          79.26      611.70
Womens Restroom
                                                     Office 2



                                                                                                 Office 3                                                                                                Height: 8'
                                                                                                                    340.00 SF Walls                                            112.13 SF Ceiling
                                                                               7' 3"
                                                                               7' 1"




                                                                                                             Showroom
                                                                                                                    452.13 SF Walls & Ceiling                                  112.13 SF Floor
                  10' 1"
                           9' 9"




                                                     Office 3

                                                                                                                     12.46 SY Flooring                                          42.50 LF Floor Perimeter
                                                                               4" 2' 6"




                                                      11' 6"                                                         42.50 LF Ceil. Perimeter
                                                                               2"




                   Office 4
           DESCRIPTION                                                                                      QUANTITY UNIT PRICE                            TAX       O&P          RCV       DEPREC.          ACV
              144. Clean suspended ceiling grid                 112.13 SF                                                                0.22               0.11      4.96        29.74         (0.00)       29.74
              145. Paint suspended ceiling grid                 112.13 SF                                                                0.36               1.53      8.38        50.28        (13.97)       36.31
              146. R&R Suspended ceiling tile - 2' x 4'          28.03 SF                                                                2.04               3.25     12.10        72.53         (0.00)       72.53
              147. Seal & paint acoustic ceiling tile           112.13 SF                                                                1.11               3.17     25.54       153.17        (42.55)      110.62
              Paint ceiling
Executive Bathroom           tilesOffice
                         Executive to obtain a uniform appearance throughout.
              148. Sprinkler head/escutcheon - Detach &            2.00 EA                                                              11.99               0.00      4.80        28.78         (0.00)       28.78
              reset

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                            1-615-849-6400



                                                                             CONTINUED - Office 3



      DESCRIPTION                                         QUANTITY UNIT PRICE                      TAX           O&P          RCV       DEPREC.               ACV
      149. Fluorescent light fixture - 2' & 4' -                   2.00 EA         57.48               0.00     23.00       137.96          (0.00)          137.96
      Detach & reset
      150. Heat/AC register - Mechanically                         1.00 EA           5.32              0.00      1.06          6.38         (0.00)             6.38
      attached - Detach & reset
      151. Detach & Reset In-wall / In-ceiling                     1.00 EA         14.30               0.00      2.86        17.16          (0.00)           17.16
      speaker
      152. Cold air return cover - Detach & reset                1.00 EA             7.26              0.00      1.46         8.72          (0.00)            8.72
      153. Floor protection - plastic and tape -               112.13 SF             0.29              1.20      6.74        40.46          (0.00)           40.46
      10 mil

      Totals: Office 3                                                                                 9.26     90.90       545.18           56.52          488.66




                                                 Shop                                                                                                   Height: 12'
                                           6"
                                       15' 8"




                       114'
                       114' 10"
                            4"
                                       15'




                                       Conference
                                   Service EntrySmall
                                                   Room
                                                      Office
                                                       Office 1
                                                  Hallway                 4176.00 SF Walls                               6821.89 SF Ceiling
       59' 4"
           8"




                                              Mens
                                                 Womens
                                                    Restroom
                                                         Restroom
                                                          Office 2
                                       44' 10"




                                                                        10997.89 SF Walls & Ceiling                      6821.89 SF Floor
       60'




                     Shop                                 Office Showroom
                                                                 3
                                       43'




                                            Service/Parts    Office 4      757.99 SY Flooring                             348.00 LF Floor Perimeter
                                                   Executive
                                                         Executive
                                                             Bathroom
                                                                   Office
                                                                           348.00 LF Ceil. Perimeter



      DESCRIPTION                                         QUANTITY UNIT PRICE                      TAX          O&P           RCV       DEPREC.               ACV
      154. Clean floor - Heavy                      6,821.89 SF               0.45           6.65        615.32      3,691.82               (0.00)         3,691.82
      155. Protect - Cover with plastic             6,821.89 SF               0.29         73.16         410.32      2,461.83               (0.00)         2,461.83
      156. General Laborer - per hour                   60.00 HR             32.79           0.00        393.48      2,360.88               (0.00)         2,360.88
      3 men for a total of 20 hours to manipulate plastic to protect tools, equipment, cars, and other general personal property.

      Totals: Shop                                                                                 79.81      1,419.12     8,514.53              0.00      8,514.53

      Total: Bldg 1 Interior                                                                      351.73      3,904.70    23,426.56       1,721.04       21,705.52



                                                                                   SKETCH2
                                                                                   Main Level




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                                           Mary Jo O'Neal - UMPIRE
                                           2226 General Raines Drive
                                           Murfreesboro, TN 37129
                        17' 11"
                                           1-615-849-6400
                                           17' 11"
                         15' 6" 31' 15' 6"
                    17' 5" 6' 11"
                    16' 6"     6'          1'

                                        ' 3"
                                                                       Used Car Building Roof
                                                              15' 6"
                               2' 7" Roof3
                                      F11
                                      17 (B)(3)
                                25' 6"




                  Roof4 (1)Roof2      F10  (A)
                   F5      F8 (A) (2)                                              2040.40 Surface Area                   20.40 Number of Squares
                                1' 10"
                                                        10'




                                 1' 7"                                              223.51 Total Perimeter Length         65.79 Total Ridge Length
                                  8' 8"
                             F7 7' 6"
             Used Car Building Roof
            27'




                                                  26'




                  F6 (A)


                                         11' 1"
                          32'             9' 7"

      DESCRIPTION                                                            QUANTITY UNIT PRICE             TAX    O&P     RCV      DEPREC.             ACV
      157. Tear off, haul and dispose of comp.            20.40 SQ            72.46           0.00         295.64       1,773.82           (0.00)      1,773.82
      shingles - 3 tab
      Roof replacement will be completed by one, skilled labor roofing crew. Pricing has been adjusted to correct RFG labor rate. Tennessee GL and
      WC policies require any tradesman performing labor on roof/elevated surface to be classified as roofer.
      158. Add. layer of comp. shingles, remove           20.40 SQ            22.99           0.00          93.80         562.80           (0.00)        562.80
      & disp. - 3 tab
      159. Tear off, haul and dispose of wood             15.96 SQ            42.13           0.00         134.48         806.87           (0.00)        806.87
      shakes/shingles
      160. Roofing felt - 15 lb.                          15.88 SQ            18.81           8.64          61.46         368.80           (0.00)        368.80
      161. Roofing felt - 15 lb. - double                  4.53 SQ            33.30           4.47          31.08         186.40           (0.00)        186.40
      coverage/low slope
      Per Gibson County Building Code: (2015 International Residential Code)
        R905.2 Underlayment Application
      For roof slopes from 2 units vertical in 12 units horizontal (2:12), up to four units vertical in 12 units horizontal (4:12), underlayment shall be two
      layers applied in the following manner:
        Starting at the eave, a 19-inch (483 mm) strip of underlayment shall be applied parallel with the eave and fastened sufficiently in place.
        Starting at the eave, 36-inch wide (914 mm) strips of underlayment felt shall be applied overlapping successive sheets 19 inches (483 mm) and
      fastened sufficiently in place.
      162. Asphalt starter - universal starter            64.50 LF             1.43           3.90          19.22         115.36           (0.00)        115.36
      course
      163. 3 tab - 25 yr. - comp. shingle roofing -       22.67 SQ          142.73          178.95         682.94       4,097.58       (1,229.27)      2,868.31
      w/out felt
      164. Ridge cap - composition shingles               65.79 LF             2.57           6.22          35.06         210.36          (63.11)        147.25
      165. Drip edge                                     197.15 LF             1.57          14.22          64.74         388.49           (0.00)        388.49
      Per Gibson County Building Code: (2015 International Residential Code)
      R905.2.8.5 Drip edge.
      A drip edge shall be provided at eaves and rake edges of shingle roofs. Adjacent segments of the drip edge shall be lapped a minimum of 2 inches
      (51 mm). The vertical leg of the drip edges shall be a minimum of 1 ½ inches (38 mm) in width and shall extend a minimum of ¼ inch (6.4 mm)
      below sheathing. The drip edge shall extend back on the roof a minimum of 2 inches (51 mm). Underlayment shall be installed over drip edges
      along eaves. Drip edges shall be installed over underlayment along rake edges. Drip edges shall be mechanically fastened a maximum of 12 inches
      (305 mm) on center.
      166. Ice & water barrier                            72.00 SF             1.11           2.60          16.50           99.02          (0.00)         99.02
       2012 International Residential Code
       R905.2.8.2. Valleys.
      Valley linings shall be installed in accordance with the manufacturer's instructions before applying shingles. Valley linings of the following type
      shall be permitted:
         1. For open valleys (valley lining exposed) lined with metal, the valley lining shall be 24 inches (610 mm) wide and any of the corrosion-resistant
      metals in table 1507.2.9.2.
         2. For open valleys, valley lining of two plies of mineral -surface roll roofing complying with ASTM D3909 or ASTM D6380 shall be permitted.
      The bottom layer shall be 18 inches (457 mm) and the top layer a minimum of of 36 inches (914 mm) wide.
         3. For closed valleys (valleys covered with shingles) valley lining of one ply of smooth roll roofing complying with ASTM D6380, and at least 36
      inches (914 mm) wide or types as described in Item 1 or 2 above shall be permitted. Self-adhering polymer modified bitumen underlayment
      complying ATSM D1970 shall be permitted in lieu of the lining material.
      167. Step flashing                                  25.33 LF             6.05           3.33          31.32         187.90           (0.00)        187.90

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                        Mary Jo O'Neal - UMPIRE
                        2226 General Raines Drive
                        Murfreesboro, TN 37129
                        1-615-849-6400



                                                         CONTINUED - Used Car Building Roof



      DESCRIPTION                                  QUANTITY UNIT PRICE                    TAX            O&P            RCV       DEPREC.          ACV
      Replace step flashing due to it being fastened to the roof wall which is being replaced due to hail damage.
      168. R&R Rain cap - 6"                              1.00 EA           37.41           2.05           7.90        47.36          (8.31)      39.05
      169. Remove Additional charge for steep             8.05 SQ           19.97           0.00          32.16       192.92          (0.00)     192.92
      roof - 7/12 to 9/12 slope
      170. Additional charge for steep roof -             8.05 SQ           23.30           0.00          37.52       225.09          (0.00)     225.09
      7/12 to 9/12 slope
      171. Remove Additional charge for steep             1.68 SQ           31.36           0.00          10.54        63.22          (0.00)      63.22
      roof - 10/12 - 12/12 slope
      172. Additional charge for steep roof -             1.68 SQ           36.63           0.00          12.30        73.84          (0.00)      73.84
      10/12 - 12/12 slope

      Totals: Used Car Building Roof                                                    224.38       1,566.66        9,399.83       1,300.69    8,099.14




                                          Used Car Bldg Exterior

      DESCRIPTION                                  QUANTITY UNIT PRICE                    TAX           O&P             RCV       DEPREC.          ACV
      173. R&R Trim board - 1" x 6" - installed         65.33 LF            3.55         13.25          49.04         294.21          (0.00)     294.21
      (pine)
      Replace right elevation rakes due to hail damage.
      174. Tear off asbestos siding (no haul off)      137.66 SF            2.02           2.01         56.02         336.10          (0.00)     336.10
      Remove right elevation asbestos siding.
      175. Asbestos test fee - full service survey -     1.00 EA          325.00           0.00         65.00         390.00          (0.00)     390.00
      base fee
      Test Right Upper gable siding for likely asbestos materials.
      176. R&R Siding - hardboard - lap pattern - 137.66 SF                 3.19         19.73          91.76         550.62         (71.22)     479.40
      12"
      Replace asbestos siding on lower right gable.
      177. R&R Siding - plywood - redwood               61.58 SF            2.89         10.51          37.70         226.18         (29.95)     196.23
      face
      Replace upper right gable siding due to hail damage.
      178. Seal & paint wood siding                    321.41 SF            1.68         12.85         110.58         663.40         (93.97)     569.43
      Paint exterior siding.
      179. Exterior - paint two coats                1,138.67 SF            1.06         33.31         248.06        1,488.36       (210.85)    1,277.51
      Paint block walls chipped by hail.
      180. Prime & paint exterior fascia - wood,       197.51 LF            1.97           3.85         78.60         471.54         (66.80)     404.74
      6"- 8" wide
      181. Prime & paint exterior soffit - wood        217.51 SF            2.05           7.85         90.76         544.51         (77.13)     467.38

      Totals: Used Car Bldg Exterior                                                    103.36         827.52        4,964.92        549.92     4,415.00

      Total: Main Level                                                                 327.74       2,394.18       14,364.75       1,850.61   12,514.14
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      Total: SKETCH2                                                                     327.74     2,394.18    14,364.75       1,850.61       12,514.14




                                           OSHA - 1 Life Safety

      DESCRIPTION                                   QUANTITY UNIT PRICE                    TAX         O&P          RCV       DEPREC.              ACV
      182. OSHA Protocol                           1.00 EA     177,806.38                   0.00        0.00   177,806.38         (0.00)      177,806.38
      See Protocol and Manual Provided. Includes sufficient Covid-19 protocols.

      Totals: OSHA - 1 Life Safety                                                          0.00        0.00   177,806.38              0.00   177,806.38




                                           General Conditions

      DESCRIPTION                                   QUANTITY UNIT PRICE                    TAX         O&P          RCV       DEPREC.              ACV
      183. Taxes, insurance, permits & fees (Bid           1.00 EA        1,500.00          0.00     300.00      1,800.00         (0.00)        1,800.00
      Item)
      184. Commercial Supervision / Project              60.00 HR            60.00          0.00     720.00      4,320.00         (0.00)        4,320.00
      Management - per hour
      6 week project will need supervision 10 hours per week.
      185. Cleaning Technician - per hour                80.00 HR            31.09          0.00     497.44      2,984.64         (0.00)        2,984.64
      Daily cleaning of job site and final cleaning of site a completion of project.
      186. General Laborer - per hour                    40.00 HR            32.79          0.00     262.32      1,573.92         (0.00)        1,573.92
      Labor for cutting the old panels to fit in dumpsters.
      187. Dumpster load - Approx. 40 yards, 7-            6.00 EA          613.46          0.00     736.16      4,416.92         (0.00)        4,416.92
      8 tons of debris
      188. R&R Sheathing - plywood - 1/2"               256.00 SF             1.69        18.47       90.24       541.35          (0.00)         541.35
      CDX
      Protect parking lot from damage due to equipment and dumpsters.

      Totals: General Conditions                                                          18.47     2,606.16    15,636.83              0.00    15,636.83



      Labor Minimums Applied

      DESCRIPTION                                   QUANTITY UNIT PRICE                    TAX         O&P          RCV       DEPREC.              ACV
      189. Finish carpentry labor minimum*                1.00 EA            27.95          0.00        5.60        33.55         (0.00)           33.55

      Totals: Labor Minimums Applied                                                        0.00        5.60        33.55              0.00        33.55

      Line Item Totals: 20092003-GRAVES                                                10,106.82   54,439.92   504,443.43      43,142.64      461,300.79




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      Grand Total Areas:
          13,411.33 SF Walls                         12,243.72 SF Ceiling                  25,655.06 SF Walls and Ceiling
          12,243.72 SF Floor                          1,360.41 SY Flooring                  1,318.33 LF Floor Perimeter
               0.00 SF Long Wall                          0.00 SF Short Wall                1,318.33 LF Ceil. Perimeter

          12,243.72 Floor Area                       12,554.36 Total Area                  13,411.33 Interior Wall Area
           9,252.97 Exterior Wall Area                  536.83 Exterior Perimeter of
                                                               Walls

          17,486.54 Surface Area                       174.87 Number of Squares                 0.00 Total Perimeter Length
             288.29 Total Ridge Length                   0.00 Total Hip Length



      Coverage                                             Item Total                  %       ACV Total                    %
      Contents                                                     0.00           0.00%                 0.00            0.00%
      Code Upgrade                                                 0.00           0.00%                 0.00            0.00%
      Building                                               490,045.13          97.15%           448,753.10           97.28%
      Other Structures                                        14,398.30           2.85%            12,547.69            2.72%
      Total                                                  504,443.43        100.00%            461,300.79           100.00%




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                                                             Summary for Building
      Line Item Total                                                                           428,225.91
      Material Sales Tax                                                                          9,779.08

      Subtotal                                                                                  438,004.99
      Overhead                                                                                   26,020.07
      Profit                                                                                     26,020.07

      Replacement Cost Value                                                                   $490,045.13
      Less Depreciation                                                                         (41,292.03)

      Actual Cash Value                                                                        $448,753.10
      Net Claim                                                                                $448,753.10

      Total Recoverable Depreciation                                                             41,292.03

      Net Claim if Depreciation is Recovered                                                   $490,045.13




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                                                        Summary for Other Structures
      Line Item Total                                                                              11,670.78
      Material Sales Tax                                                                              327.74

      Subtotal                                                                                     11,998.52
      Overhead                                                                                      1,199.89
      Profit                                                                                        1,199.89

      Replacement Cost Value                                                                      $14,398.30
      Less Depreciation                                                                            (1,850.61)

      Actual Cash Value                                                                           $12,547.69
      Net Claim                                                                                   $12,547.69

      Total Recoverable Depreciation                                                                1,850.61

      Net Claim if Depreciation is Recovered                                                      $14,398.30




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                                          Recap by Category with Depreciation

      O&P Items                                                          RCV      Deprec.        ACV
      ACOUSTICAL TREATMENTS                                            1,111.28                1,111.28
         Coverage: Building          @               100.00% =         1,111.28
      CLEANING                                                         6,701.30                6,701.30
         Coverage: Building          @               100.00% =         6,701.30
      GENERAL DEMOLITION                                              35,543.29               35,543.29
         Coverage: Building          @                91.03% =        32,354.54
         Coverage: Other Structures  @                 8.97% =         3,188.75
      DOORS                                                           10,564.80    4,527.77    6,037.03
         Coverage: Building          @               100.00% =        10,564.80
      ELECTRICAL                                                       4,825.80                4,825.80
         Coverage: Building          @               100.00% =         4,825.80
      ELECTRICAL - SPECIAL SYSTEMS                                       402.15                 402.15
         Coverage: Building          @               100.00% =           402.15
      PERMITS AND FEES                                                 1,825.00                1,825.00
         Coverage: Building          @                82.19% =         1,500.00
         Coverage: Other Structures  @                17.81% =           325.00
      FINISH CARPENTRY / TRIMWORK                                        241.58                 241.58
         Coverage: Other Structures  @               100.00% =           241.58
      FIRE PROTECTION SYSTEMS                                            587.51                 587.51
         Coverage: Building          @               100.00% =           587.51
      FRAMING & ROUGH CARPENTRY                                          335.36                 335.36
         Coverage: Building          @               100.00% =           335.36
      HAZARDOUS MATERIAL REMEDIATION                                   2,569.12                2,569.12
         Coverage: Building          @               100.00% =         2,569.12
      HEAT, VENT & AIR CONDITIONING                                      530.19     282.38      247.81
         Coverage: Building          @               100.00% =           530.19
      INSULATION                                                      44,722.63               44,722.63
         Coverage: Building          @               100.00% =        44,722.63
      LABOR ONLY                                                       6,879.00                6,879.00
         Coverage: Building          @               100.00% =         6,879.00
      LIGHT FIXTURES                                                   2,440.23                2,440.23
         Coverage: Building          @               100.00% =         2,440.23
      METAL STRUCTURES & COMPONENTS                                   17,833.60    3,972.22   13,861.38
         Coverage: Building          @               100.00% =        17,833.60
      PAINTING                                                         8,539.06    2,112.12    6,426.94
         Coverage: Building          @                69.76% =         5,957.11
         Coverage: Other Structures  @                30.24% =         2,581.95
      ROOFING                                                        103,634.09   24,976.33   78,657.76
         Coverage: Building          @                95.40% =        98,865.45
         Coverage: Other Structures  @                 4.60% =         4,768.64
      SIDING                                                             564.86      96.03      468.83
         Coverage: Other Structures  @               100.00% =           564.86

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      O&P Items                                                      RCV      Deprec.         ACV
      SOFFIT, FASCIA, & GUTTER                                    12,010.66    5,225.79     6,784.87
         Coverage: Building                      @   100.00% =    12,010.66
      SPECIALTY ITEMS                                                228.80                  228.80
         Coverage: Building                      @   100.00% =       228.80
      O&P Items Subtotal                                         262,090.31   41,192.64   220,897.67

      Non-O&P Items                                                  RCV      Deprec.         ACV
      SPECIALTY ITEMS                                            177,806.38               177,806.38
         Coverage: Building                      @   100.00% =   177,806.38
      Non-O&P Items Subtotal                                     177,806.38        0.00   177,806.38
      O&P Items Subtotal                                         262,090.31   41,192.64   220,897.67
      Material Sales Tax                                          10,106.82    1,950.00     8,156.82
          Coverage: Building                     @   96.76% =      9,779.08
          Coverage: Other Structures             @    3.24% =        327.74
      Overhead                                                    27,219.96                27,219.96
          Coverage: Building                     @   95.59% =     26,020.07
          Coverage: Other Structures             @    4.41% =      1,199.89
      Profit                                                      27,219.96                27,219.96
          Coverage: Building                     @   95.59% =     26,020.07
          Coverage: Other Structures             @    4.41% =      1,199.89

      Total                                                      504,443.43   43,142.64   461,300.79




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